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				WILLIAMS v. WORKERS' COMPENSATION COMMISSION2014 OK 98Case Number: 113270Decided: 11/17/2014As Corrected: November 19, 2014THE SUPREME COURT OF THE STATE OKLAHOMA
Cite as: 2014 OK 98, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

ROBIN E. WILLIAMS, JANET UHRHAN, SHERRI LYNN ROGERS, MELVIN D. BARROW, TOMMY R. HAYDEN, AND SHERRY ELOISE JOSEPH, Petitioners,
v.
WORKERS' COMPENSATION COMMISSION, STATE OF OKLAHOMA, Respondent.
ORDER
¶1 Original jurisdiction is assumed. Art. 7 § 4, Okla. Const. Let the writs of mandamus and prohibition issue. Respondent, Workers' Compensation Commission ("Commission"), shall provide a stenographer for stenographic reporting of all hearings before the Commission as required by 85A O.S. Supp. 2013, § 72 (B)(1)(a). To the extent that Emergency Rule 810:10-5-48 (d) conflicts with the requirements of 85A O.S. Supp. 2013, § 72 (B), the Commission is prohibited from providing only an audio recording of all hearings, in lieu of a stenographer. 
DONE BY THE ORDER OF THE SUPREME COURT IN CONFERENCE THIS17th DAY OF NOVEMBER, 2014.
/S/CHIEF JUSTICE
COLBERT, C.J., REIF, V.C.J., KAUGER, EDMONDSON, COMBS, and GURICH, JJ., concur.
WATT, J., concurs in part and dissents in part.
WINCHESTER and TAYLOR, JJ., dissent.




	Citationizer© Summary of Documents Citing This Document
	
	
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
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	Title 85A. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85A O.S. 72, Workers' Compensation Commission - Proceedings - Conduct - Public - Records - Introduction of Evidence - Expert TestimonyDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
